 Case 2:18-cv-01269-JLS-JCG Document 39-1 Filed 04/27/18 Page 1 of 12 Page ID
                                  #:1808


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9
                                UNITED STATES DISTRICT COURT
10
                              CENTRAL DISTRICT OF CALIFORNIA
11
     STM ATLANTIC N.V., et al.,                Case No. 2:18-cv-01269-JLS-JCG
12
                      Plaintiffs,             SUPPLEMENTAL DECLARATION
13                                            OF UMAR JAVED IN SUPPORT OF
                vs.                           PLAINTIFFS’ MOTION FOR
14                                            JUDICIAL DETERMINATION
     DONG YIN DEVELOPMENT                     THAT THE MILBANK MEMO,
15   (HOLDINGS) LIMITED, et al.,              CHEN MEMO AND RELATED
                                              COMMUNICATIONS ARE NOT
16                    Defendants.             SUBJECT TO THE ATTORNEY-
                                              CLIENT PRIVILEGE OR WORK
17                                            PRODUCT DOCTRINE
18                                            [FILED UNDER SEAL PER COURT
                                              ORDER OF APRIL 2, 2018]
19
                                              [Filed concurrently with Reply in
20                                            Support of Motion; Supplemental
                                              Declaration of Emil Youssefzadeh;
21                                            Supplemental Declaration of Jerome
                                              Friedberg; Supplemental Compendium
22                                            of Exhibits; Evidentiary Objections;
                                              Response to Evidentiary Objections; and
23                                            Proof of Service]
24                                             HEARING
25                                             Judge:       Hon. Josephine L. Staton
                                               Date:        May 11, 2016
                                               Time:        2:30 p.m.
26                                             Place:       Courtroom 10A
27                                             Complaint Filed:        Feb. 15, 2018
                                               FAC Filed:              Feb. 25, 2018
28

         SUPPLEMENTAL DECLARATION OF UMAR JAVED IN SUPPORT OF PLAINTIFFS’ MOTION FOR
                                 JUDICIAL DETERMINATION
     242066.4
 Case 2:18-cv-01269-JLS-JCG Document 39-1 Filed 04/27/18 Page 2 of 12 Page ID
                                  #:1809


1                     SUPPLEMENTAL DECLARATION OF UMAR JAVED
2               I, Umar Javed, declare and state as follows:
3               1.    I am a Plaintiff in the above-captioned action. I make this supplemental
4    declaration of my own personal knowledge. If called as a witness, I could and would
5    testify to the matters set forth herein. I am making this supplemental declaration in
6    support of Plaintiffs’ Motion for Judicial Determination that the Milbank Memo, Chen
7    Memo and Related Communications Are Not Subject to the Attorney-Client Privilege
8    or Work Product Doctrine (“Plaintiffs’ Motion”). I am making this supplemental
9    declaration to address certain contentions in the Opposition of Global-IP Cayman
10   (“GIP-Cayman”) and Global-IP USA (“GIP-USA”) (collectively, “GIP”) to Plaintiffs’
11   Motion.
12   A.         Mr. Youssefzadeh and I Remained Employees of GIP Until
13              On August 16, 2017.
14              2.    As stated in my prior declaration, Emil Youssefzadeh and I submitted our
15   resignations on June 26, 2017, but remained executives with GIP-Cayman and
16   GIP-USA until August 2017. (See Umar Declaration, ¶¶ 51, 107.) Our resignations
17   did not become effective immediately because our employment agreements had
18   60-day notice provisions and the GIP-Cayman and GIP-USA Boards of Directors did
19   not formally relieve us of our duties and authority at that time. (See Umar Decl., ¶ 51;
20   Compendium, Exhibits 17 and 18.) As a result, I continued to serve as the President
21   and Chief Operating Officer (“COO”) of GIP-Cayman and GIP-USA until
22   August 16, 2017. Moreover, Mr. Youssefzadeh and I continued to be involved in the
23   day-to-day operations of GIP, approving payments and banking transactions, directing
24   the GIP staff, communicating with suppliers and vendors, and participating in
25   marketing, sales and other activities.
26              3.    On June 29, 2017, I sent an email to GIP senior personnel stating: “For
27   clarity, the resignation I have submitted to the board of directors on June 26 has a
28   required 60 days noice [sic] period (expiring Aug 25). I’ll continue working and
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          SUPPLEMENTAL DECLARATION OF UMAR JAVED IN SUPPORT OF PLAINTIFFS’ MOTION FOR
                                  JUDICIAL DETERMINATION
     242066.4
 Case 2:18-cv-01269-JLS-JCG Document 39-1 Filed 04/27/18 Page 3 of 12 Page ID
                                  #:1810


1    supporting the Company and staff in my role as the Company’s cheif [sic] operating
2    officer until such time the board notifies me through a proper board resolution that I’m
3    relieved from my duties and authority.” A true and correct copy of this email is
4    Exhibit 80 in the concurrently-filed Supplemental Compendium of Exhibits
5    (“Supplemental Compendium”).
6               4.    On August 9, 2017, Bahram Pourmand sent me a letter, via email, stating
7    that the GIP-Cayman and GIP-USA directors “accept your resignation from all Global
8    IP executive officer positions effective August 16, 2017.” Mr. Pourmand’s letter
9    further stated that, “[y]our separation date and final date of employment is
10   August 16, 2017.” A true and correct copy of Mr. Pourmand’s August 9, 2017 letter,
11   along with the transmittal email he sent me, is Exhibit 81 in the Supplemental
12   Compendium.
13              5.    On August 16, 2017, attorney Gerald Klein, who at that time represented
14   Mr. Youssefzadeh and me, sent a letter to Mr. Pourmand, confirming:
15              Our office represents Emil Youssefzadeh (“Youssefzadeh”) and Umar
                Javed (“Javed”). We understand Youssefzadeh and Javed were
16              terminated as of today, as outlined in your August 9, 2017 letter
                accepting their resignations as officers of Global-IP Cayman Limited
17              and Global-IP USA (collectively, “GIP”). Accordingly,
                Youssefzadeh and Javed are no longer GIP employees.
18
19   A true and correct copy of Mr. Klein’s August 16, 2017 letter is Exhibit 82 in the
20   Supplemental Compendium.
21              6.    In sum, my employment at GIP-Cayman and GIP-USA and my tenure as
22   President and COO of GIP-Cayman and GIP-USA ended on or about
23   August 16, 2017.
24   B.         Mr. Wong’s Response to the Milbank Memo.
25              7.    I have reviewed Yuen Cheung (“Tony”) Wong’s declaration, which
26   states at paragraph 9 that he discussed the Milbank Memo with other directors “for the
27   purpose of assessing what, if any, measures GIP should take in response to the
28
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          SUPPLEMENTAL DECLARATION OF UMAR JAVED IN SUPPORT OF PLAINTIFFS’ MOTION FOR
                                  JUDICIAL DETERMINATION
     242066.4
 Case 2:18-cv-01269-JLS-JCG Document 39-1 Filed 04/27/18 Page 4 of 12 Page ID
                                  #:1811


1    Milbank Memo.” At paragraph 16 of his declaration, Mr. Wong also denies that he
2    ever told Mr. Youssefzadeh or me that Dong Yin had threatened to close the project.
3               8.    In fact, Mr. Wong discussed the Milbank Memo in an attempt to “keep it
4    off the record,” and did indeed threaten to close the project. Exhibit 83 in the
5    Supplemental Compendium is a true and correct copy of my April 30, 2017 email to
6    Mr. Wong, which recounts both his threat to “stop the project,” and his request that
7    Mr. Pourmand do something to keep the Milbank Memo off the record.
8               9.    My April 30, 2017 email states,
9               When I called you, your entire purpose was to question the Milbank
                memo and calling it ridicules. Threatening that you can stop the
10              project, etc. I explained you during the call that we must follow and
                respect the law and regulations. But you showed strong displeasure.
11              You also insisted that Chris should call you and you wanted to
                discuss this "ridicules" memo with him. I told you that he was on
12              vacation all this week. Please be reminded that any influence or
                attempt of intimidation by you on company's general counsel will
13              not be tolerated.
14              I also learned from Bahram that you called him and asked if we
                could do something with Milbank memo and keep it off the record
15              and try to sort out amongst us privately.
16   C.         My Communications with Ludwig Chang and Dong Yin Representatives.
17              10.   I have reviewed Ludwig Chang’s declaration, which states that
18   Mr. Chang never worked for Dong Yin Development (Holdings) Ltd. (“Dong Yin”),
19   but acknowledges that he was the Executive Director and Co-President of
20   China Orient Asset Management (International) Holding (“COAMI”). COAMI is a
21   subsidiary and affiliate of Dong Yin. Mr. Chang also told me in our meeting in
22   New York on June 15, 2017, that after his retirement from COAMI, he worked as a
23   consultant for Dong Yin.
24              11.   Mr. Youssefzadeh and I contacted Mr. Chang in June 2017, regarding our
25   concerns about the lack of compliance with U.S. export control laws, and after Dong
26   Yin failed to respond to Mr. Youssefzadeh’s May 30, 2017 email requesting a meeting
27   to address corporate governance and export control law compliance issues.
28   (See Compendium, Exhibit 30.) We contacted Mr. Chang for assistance in alerting
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          SUPPLEMENTAL DECLARATION OF UMAR JAVED IN SUPPORT OF PLAINTIFFS’ MOTION FOR
                                  JUDICIAL DETERMINATION
     242066.4
 Case 2:18-cv-01269-JLS-JCG Document 39-1 Filed 04/27/18 Page 5 of 12 Page ID
                                  #:1812


1    Dong Yin to the seriousness of these issues, precisely because of his relationship with
2    Dong Yin. We thought it was imperative that Dong Yin address these issues because
3    we believed that Dong Yin’s influence over the governance, management and
4    operations of GIP-Cayman and GIP-USA was giving rise to violations of the PRC
5    Regulatory Proscription and U.S. export control laws.
6               12.   Mr. Youssefzadeh and I arranged to meet Mr. Chang in New York on
7    June 15, 2017. After we arrived for the meeting, Mr. Chang told us that he had retired
8    from COAMI and that he now charged for his time on an hourly basis as a consultant.
9    We agreed to pay him for his time in meeting with us, even though we never entered
10   into or intended to enter into a consulting agreement with him. Payment was made
11   through STM Group, Inc., not STM Atlantic, as Mr. Chang states.
12              13.   During the meeting, and in subsequent communications,
13   Mr. Youssefzadeh and I sought Mr. Chang’s assistance in connecting with Dong Yin.
14   We sought to enlist Mr. Chang’s assistance because we did not have any direct
15   interaction with Dong Yin or its Beijing-based parent China Orient Asset
16   Management Company.
17              14.   On June 22, 2017, Mr. Chang sent me a text message, stating, “I spoke
18   with Beijing and they are taking it seriously.” A true and correct copy of this text
19   message is Exhibit 84 in the Supplemental Compendium.
20              15.   On June 28, 2017, Mr. Chang sent me another text message, stating,
21   “[e]xpect a call from Terry [Long] . . . . Anyway, Dong and Zeng now aware of the
22   Dara memo to Terry.” A true and correct copy of this text message is Exhibit 85 in
23   the Supplemental Compendium.
24              16.   I understood Mr. Chang’s reference to “the Dara memo to Terry” to refer
25   to the June 27, 2017 email from Dara Panahy to Terry Long. (See Compendium,
26   Exhibit 55.) A true and correct unredacted version of this email is Exhibit 86 in the
27   Supplemental Compendium.
28              17.   Mr. Panahy’s June 27, 2017 email to Terry Long states, in part:
                                                    4
         SUPPLEMENTAL DECLARATION OF UMAR JAVED IN SUPPORT OF PLAINTIFFS’ MOTION FOR
                                 JUDICIAL DETERMINATION
     242066.4
 Case 2:18-cv-01269-JLS-JCG Document 39-1 Filed 04/27/18 Page 6 of 12 Page ID
                                  #:1813

                As you may be aware, Emil, Umar, and Global IP’s general counsel,
1               Chris Chen, all resigned yesterday (Monday, June 26th, 2017) as
                employees and officers of Global IP, citing serious compliance
2               implications with respect to U.S. export control laws and regulations.
                In the view of Emil and Umar, the Series A (Bronzelink-appointed)
3               Directors, in the last few months, have not only failed to address the
                critical issue of compliance, but also have taken steps to disregard, or
4               “cover-up” the compliance issue.
5               Emil and Umar will remain as Directors of Global IP. Shortly after
                resigning, I understand that Umar and Emil had also notified certain of
6               Global IP’s suppliers, including the U.S. export suppliers Boeing and
                SpaceX, of their resignations, to satisfy what they believe are their duties
7               as U.S. citizens and fiduciary duties to Global IP under Cayman and U.S.
                laws and regulations.
8
                In response to DY’s request, Emil and Umar asked me to convey the
9               following responses directly to you:
10                                                 * * *
11              2. Emil and Umar for a few months now have expressed concerns about
                the corporate governance defects of Global IP and the disregard for
12              compliance with U.S. export control laws and regulations that the Series
                A Directors have demonstrated, and tried in good faith to work with other
13              Directors of Global IP to resolve these matters in the best interest of
                Global IP and its shareholders, including Bronzelink. Emil and Umar
14              have no personal issue, and they do not hold any personal “grudge”,
                against Mr. Fan or any of the other Bronzelink-appointed Directors of
15              Global IP, but instead, Emil and Umar have a very serious concern that
                the Bronzelink-appointed Directors of Global IP do not understand, or do
16              not wish to understand, the critical importance of immediately correcting
                the corporate governance matters facing Global IP which, if not resolved
17              immediately, could quickly lead to violations under U.S. export controls
                laws and regulations. This is a very important point for Emil and Umar.
18
                3. One potential solution that Emil and Umar have suggested is for
19              Bronzelink to have a truly independent, outside third party (such as an
                independent executive/director search firm) identify a number of
20              appropriately qualified and truly independent Director candidates with
                no past or existing personal or business connections or ties to
21              Bronzelink, or Bronzelink’s shareholder(s), and have Bronzelink
                select and appoint from this group of candidates a minimum of 4 truly
22              independent Directors on the Board of Global IP, to serve alongside
                with the 3 Founder Directors, Mr. Fan and 1 director identified and
23              appointed directly by Bronzelink (or any other qualified 1 Director
                identified and appointed directly by Bronzelink). If such a solution is
24              achievable, safeguards need to be put in place so that Bronzelink
                cannot thereafter arbitrarily terminate or replace the appointed
25              independent Directors. For example, Umar and Emil understand that
                the 2 previous U.S. citizen, Chinese-heritage Directors appointed by
26              Bronzelink to the Global IP Board decided to leave the Board of
                Directors after being informed of the U.S. export control laws and
27              regulations compliance issues and associated risks, however
                Bronzelink maintains that these Directors were actually fired.
28
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         SUPPLEMENTAL DECLARATION OF UMAR JAVED IN SUPPORT OF PLAINTIFFS’ MOTION FOR
                                 JUDICIAL DETERMINATION
     242066.4
 Case 2:18-cv-01269-JLS-JCG Document 39-1 Filed 04/27/18 Page 7 of 12 Page ID
                                  #:1814

                If such a solution is agreed and adopted, with 2 Bronzelink Directors,
1               4 truly independent Directors and the 3 Founder Directors, in the view
                of Emil and Umar, it would establish the necessary foundation and
2               balance for a properly functioning Board of Directors for Global IP,
                and in such a circumstance, Emil and Umar (as well as Chris Chen)
3               would in good faith consider resuming their officer roles at Global IP
                with the comfort that they can demonstrate that Global IP has
4               established appropriate controls to mitigate and address potential PRC
                foreign ownership, control or influence.
5
                18.   As stated in paragraph 129 of my original declaration, I was able to meet
6
     with Xinyi Dong (and his translator) on June 29, 2017, the day after I received
7
     Mr. Chang’s text message telling me to expect a call from Mr. Long. The purpose of
8
     the meeting was to discuss the concerns that Mr. Youssefzadeh, Mr. Panahy,
9
     Mr. Chen and I had been raising regarding U.S. export control laws. The meeting
10
     lasted for approximately an hour and a half. As stated in my original declaration,
11
     during our discussion of compliance issues, Mr. Dong made several comments, some
12
     in English and some through his translator, indicating that he was aware of the
13
     contents of both the Milbank Memo and the Chen Memo. As stated in my original
14
     declaration, in a subsequent meeting to discuss export control law compliance
15
     concerns, which occurred on July 9, 2017, both Mr. Long and Mr. Dong also indicated
16
     that they were familiar with the contents of the Milbank Memo and the Chen Memo.
17
     He also made comments indicating that he was aware of the contents of the letters and
18
     emails that GIP-Cayman had exchanged with Boeing and SpaceX.
19
                19.   Mr. Chang states in his declaration that Mr. Youssefzadeh and I showed
20
     him the Milbank Memo during the July 19, 2017 meeting in Los Angeles, and that he
21
     had not seen it prior to that date. This is false. The meeting in Los Angeles was
22
     called by Mr. Chang, and it was clear from our communications that by then he was
23
     fully aware of Milbank Memo and its contents.
24
     D.         Mr. Pourmand Has Incorrectly Characterized GIP-Cayman’s
25
                Relationship with Boeing and SpaceX.
26
                20.   I have reviewed Mr. Pourmand’s declaration, which states that his
27
     communications on behalf of GIP with Boeing Satellite Systems International, Inc.
28
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          SUPPLEMENTAL DECLARATION OF UMAR JAVED IN SUPPORT OF PLAINTIFFS’ MOTION FOR
                                  JUDICIAL DETERMINATION
     242066.4
 Case 2:18-cv-01269-JLS-JCG Document 39-1 Filed 04/27/18 Page 8 of 12 Page ID
                                  #:1815


1    (“Boeing”) and Space Explorations Technology Corp. (“SpaceX”) “were made during
2    a time period in which the parties had and continued to have a shared interest in export
3    control compliance.” (Pourmand Decl., ¶ 13) This statement is false. First, this
4    entire dispute arises from the fact that GIP did not have a genuine interest in
5    compliance, as explained in great detail in my original declaration and as alleged in
6    the First Amended Complaint. Second, Boeing and SpaceX both dealt with
7    GIP-Cayman at arm’s length regarding compliance issues, making it clear that
8    compliance was GIP-Cayman’s responsibility.
9               21.   I was the designated point of contact for GIP-Cayman for both Boeing
10   and SpaceX. As the following correspondence illustrates, neither Boeing nor SpaceX
11   treated compliance as a matter in which the parties had the same or otherwise aligned
12   interests.
13              22.   On July 7, 2017, I received a letter from Peter Capozzoli, the Director of
14   Commercial Mission Management of SpaceX. A true and correct copy of
15   Mr. Capozzili’s July 7, 2017 letter is Exhibit 87 in the Supplemental Compendium.
16   In his letter, Mr. Capozzoli stated, in part:
17              Global IP previously executed a certification that it is not “owned or
                controlled, or acting on behalf, directly or indirectly,” any person or
18              entity affiliated with China. We have attached this certification for
                reference. SpaceX and Global IP have also agreed in writing that SpaceX
19              will only transfer defense articles in support of the LSA [Launch Services
                Agreement] to Global IP US, a Delaware company, and its U.S. Person
20              employees, and that no assistance of any kind will be furnished to foreign
                persons under the LSA.
21
                However, the e-mail referenced above indicated that there may be reason
22              to believe Global IP US and/or Global IP Cayman is acting on behalf of a
                Chinese person or entity. If so, further transfers of defense articles in
23              support of the LSA to Global IP US or its employees may be a violation
                of the ITAR. SpaceX contacted Global IP’s outside counsel to address
24              this concern and was informed that an investigation of the allegations
                contained in the e-mail is underway.
25
                Accordingly, SpaceX is temporarily standing down on work under the
26              LSA until this investigation is concluded and Global IP again certifies to
                SpaceX that Global IP US, Global IP Cayman, and the employees of both
27              companies are not acting on behalf of one or more Chinese persons or
                entities. If SpaceX is not satisfied with any such certification, or if such a
28
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         SUPPLEMENTAL DECLARATION OF UMAR JAVED IN SUPPORT OF PLAINTIFFS’ MOTION FOR
                                 JUDICIAL DETERMINATION
     242066.4
 Case 2:18-cv-01269-JLS-JCG Document 39-1 Filed 04/27/18 Page 9 of 12 Page ID
                                  #:1816

                certification cannot be made, SpaceX may seek authorization from the
1               U.S. State Department to proceed with work under the LSA.
2
                23.   On or about July 18, 2017, I received a letter from William Masters, the
3
     Contracts Manager at Boeing. A true and correct copy of Mr. Masters’ July 18, 2017
4
     letter is Exhibit 88 in the Supplemental Compendium. In his letter, Mr. Masters
5
     stated, in part:
6
                On July 13, 2017, Boeing requested that your legal representative,
7               Dara Panahy of Milbank, Tweed, Hadley & McCoy LLP, pursuant to
                Global IP’s obligations under the August 28, 2016 contract, provide
8               Boeing with adequate assurances that you are compliant with all
                matters related to the legal requirements of the Export Administration
9               Regulations (“EAR”) 15 C.F.R. Parts 730-774 (2017) and the
                International Traffic in Arms Regulations (“ITAR”) (22 C.F.R. Parts
10              120-130) (2017). On July 14, 2017, Milbank sent an email
                responding that it was unable to provide a letter of assurance on your
11              behalf as a matter of policy and professional responsibility.
12              Therefore, we request that an authorized Global IP official provide
                Boeing with written confirmation that you are compliant with all
13              applicable export control laws and regulations, including EAR and
                ITAR, as well as Boeing contractual requirements, with enough
14              specificity to allow us to conduct an independent verification of your
                representation, no later than Thursday, July 20.
15
                Given that we have not received the assurances requested to date, we
16              are holding access to export controlled and Boeing proprietary
                information from Global IP at this time. Though we continue to
17              support the Global IP program and schedule requirements, the failure
                to receive such assurances would further jeopardize our ability to
18              provide export controlled and Proprietary information to Global IP in
                the future, as well as impede our ability to conduct future Design
19              Reviews. Boeing takes compliance with regulations and the
                protection of our proprietary information very seriously.
20
     E.         Mr. Youssefzadeh and I Meet with the Consultants in November 2017.
21
                24.   My original declaration discusses the November 16, 2017 meeting that
22
     Mr. Youssefzadeh and I had with Dr. Michael Altwein and Ms. Pin Fen Miao.
23
     (See Umar Decl., ¶¶ 139-142.) I have reviewed William Wade’s declaration, stating
24
     that he “assumed” that Dr. Altwein and Ms. Miao had been sent on behalf of
25
     Bronzelink “to help Bronzelink gauge the economic prospects of GIP’s plans to
26
     launch satellites and provide telecommunications services for Africa.” Mr. Wade’s
27
     assumption is incorrect. Mr. Youssefzadeh and I did not discuss GIP’s economic
28
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          SUPPLEMENTAL DECLARATION OF UMAR JAVED IN SUPPORT OF PLAINTIFFS’ MOTION FOR
                                  JUDICIAL DETERMINATION
     242066.4
 Case 2:18-cv-01269-JLS-JCG Document 39-1 Filed 04/27/18 Page 10 of 12 Page ID
                                   #:1817


1    prospects in our meeting with Dr. Altwein and Ms. Miao; nor did Dr. Altwein or
2    Ms. Miao ask us for any financial data or sales forecasts. Nor was there any reason
3    for Bronzelink to send consultants to discuss GIP’s economic prospects with
4    Mr. Youssefzadeh and me three months after we had left GIP. In fact, neither
5    Dr. Altwein nor Ms. Miao ever gave me any reason to believe that they were sent or
6    qualified to evaluate the financial viability of the satellite project.
7               25.   What we discussed with Dr. Altwein and Ms. Miao was the compliance
8    issues Mr. Youssefzadeh and I had raised in our earlier meetings with Dong Yin
9    representatives. As stated previously, both consultants confirmed that they had read
10   the Milbank Memo and the Chen Memo and told us that Dong Yin would reward us if
11   we were willing to back down and drop the compliance issue.
12              26.   Mr. Wade also confirmed to me at that time that the consultants had been
13   sent by Dong Yin, and expressed cautious optimism that by dispatching these
14   consultants, Dong Yin might be able to achieve an amicable resolution among the
15   parties. It became clear during our meeting with the consultants, however, that their
16   real objective was to find a way to buy our silence.
17   F.         The Governance of GIP-Cayman.
18              27.   Mr. Wade was not appointed to GIP-Cayman Board of Directors until
19   August 15, 2017, and was not involved with the governance, management, or
20   operations of GIP-Cayman prior to his appointment. Exhibit 89 in the Supplemental
21   Compendium is a true and correct copy of the Register of Directors of GIP-Cayman
22   showing the date of Mr. Wade’s appointment to the GIP-Cayman Board as
23   August 15, 2017.
24              28.   GIP-Cayman’s compliance issues persist to this day. As the Register of
25   Directors shows, Shiwen Fan, Tony Wong and Shiyue (“Bonnie”) Liu remain
26   members of the GIP-Cayman Board of Directors, and Bronzelink continues to control
27   six of the nine board positions. Mr. Wong is now the Chairman of the Board of
28   Directors of GIP-Cayman, a fact he fails to mention in his declaration. In addition,
                                                   9
          SUPPLEMENTAL DECLARATION OF UMAR JAVED IN SUPPORT OF PLAINTIFFS’ MOTION FOR
                                  JUDICIAL DETERMINATION
     242066.4
 Case 2:18-cv-01269-JLS-JCG Document 39-1 Filed 04/27/18 Page 11 of 12 Page ID
                                   #:1818


1    although Mr. Wong is not an employee or executive of GIP-Cayman, he is a signatory
2    on the company’s bank accounts and has to approve any company expenditure.
3               29.   In addition, I have no reason to believe that the secret Facility Agreement
4    between Bronzelink and Dong Yin’s subsidiary, Amore Resources, Ltd (“Amore”),
5    has been amended or that Dong Yin’s control over Bronzelink has been limited in any
6    way since Mr. Youssefzadeh and I stepped down as directors of GIP in
7    February 2018. In fact, Amore has a charge over Bronzelink’s shares under which
8    Amore can foreclose on Bronzelink’s Series A shares in the event of a default, which
9    would give Amore direct control over GIP-Cayman. A true and correct copy of the
10   Share Charge (the “Charge”) providing that Amore can foreclose on Bronzelink’s
11   shares is Exhibit 90 in the Supplemental Compendium.
12              30.   The Facility Agreement also provides that Amore can enforce the Charge
13   if GIP-Cayman does not obtain debt financing within 24 months after Bronzelink first
14   receives funds under the agreement. (See Compendium, Exhibit 43, §§ 17.17, 17.21.)
15   Bronzelink received its initial funding in March 2016, over 24 months ago, and
16   GIP-Cayman has never obtained debt financing. As a result, Amore can enforce the
17   Charge and take direct control of Bronzelink at any time.
18              31.   Moreover, the Charge executed by Hoi Ying Yiu aka Charles Yiu
19   (“Yiu”)—the purported owner of Bronzelink—in favor of Amore allows for the
20   expedited seizure of Bronzelink’s shares upon the occurrence of an Event of
21   Default—which are enumerated in the Facility Agreement. (See Compendium,
22   Exhibit 43, § 17 et seq.) Pursuant to the terms of this Charge, upon default, the
23   security interest becomes immediately enforceable, without further notice to,
24   consultation with, or the consent of, Mr. Yiu. (See Exhibit 90, § 7, p. 9.) In addition,
25   undated documents have already been executed by Mr. Yiu that expedite transfer of
26   his shares of Bronzelink (see id., Schedule 1, Exh. 90-22); expedite appointment of an
27   officer of Amore as Mr. Yiu’s proxy to vote at “any meeting of shareholders”
28   (see id., Schedule 2, Exh. 90-23); and expedite Mr. Yiu’s resignation and release of
                                                    10
         SUPPLEMENTAL DECLARATION OF UMAR JAVED IN SUPPORT OF PLAINTIFFS’ MOTION FOR
                                 JUDICIAL DETERMINATION
     242066.4
Case 2:18-cv-01269-JLS-JCG Document 39-1 Filed 04/27/18 Page 12 of 12 Page ID
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